        Case 1:25-cv-00091-LM            Document 85     Filed 07/17/25       Page 1 of 2




                           UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW HAMPSHIRE


 NATIONAL EDUCATION ASSOCIATION;
 et al.,

                           Plaintiffs,

            v.                                      Case No. 1:25-cv-00091-LM


 UNITED STATES DEPARTMENT OF
 EDUCATION; et al.,

                           Defendants.



          DEFENDANTS’ CROSS MOTION FOR SUMMARY JUDGMENT

       Defendants hereby move for summary judgment pursuant to Federal Rule of Civil

Procedure 56(a). Pursuant to Local Rule 7.1(d), Defendants respectfully request oral argument

on this motion. Furthermore, Defendants respectfully request that the Court grant the motion for

the reasons described in the accompanying memorandum of points and authorities.



Date: July 17, 2025,                                Respectfully submitted,

                                                    CHAD R. MIZELLE
                                                    Acting Associate Attorney General

                                                    ABHISHEK KAMBLI
                                                    Deputy Associate Attorney General

                                                    BRETT A. SHUMATE
                                                    Assistant Attorney General
                                                    Civil Division

                                                    DIANE KELLEHER
                                                    Director
                                                    Civil Division, Federal Programs Branch

                                                    /s/ Eitan R. Sirkovich
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Case 1:25-cv-00091-LM   Document 85   Filed 07/17/25       Page 2 of 2



                                  EITAN R. SIRKOVICH
                                  Trial Attorney, U.S. Department of Justice
                                  Civil Division, Federal Programs Branch
                                  1100 L Street, N.W.
                                  Washington, D.C. 20005
                                  Telephone: (202) 353-5525
                                  E-mail: eitan.r.sirkovich@usdoj.gov

                                  Counsel for Defendants




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